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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,
                                                               14-CR-102-A
              -v-

GREGORY KWIATKOWSKI,
                Defendant.
___________________________________



                                DECISION AND ORDER

              This case was referred to the undersigned by the Hon. William M. Skretny,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

on dispositive motions.



                              PRELIMINARY STATEMENT

              Defendant, Gregory Kwiatkowski (“the defendant”), is charged, along with

two others, in a five-count Indictment, with having violated Title 18, United States Code,

Sections 241, 242 and 2. Dkt. #1. Presently pending is the government’s motion

seeking a determination of whether a conflict of interest exists in the present

representation by Lipsitz Green Scime Cambria, LLP, of defendant Gregory

Kwiatkowski, by Paul J. Cambria, Jr., as a result of the representation by Mr. Cambria’s

firm of a person identified as a victim in the Indictment. Dkt. #6. Counsel for defendant

Kwiatkowski submitted a response to the instant motion. Dkt. #10. This Court heard

oral argument on June 17, 2014. For the following reasons, this Court concludes that

the presumption of shared confidences has been rebutted and that while Mr. Stuermer’s
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involvement in the representation of Mr. Kwiatkowski would give rise to his

disqualification, neither the law firm of Lipsitz Green Scime Cambria, LLP nor Mr.

Cambria should be disqualified from representing defendant Kwiatkowski subject to the

continued adherence to the screening devices that have been implemented.



                                          FACTS

              On May 27, 2014, a Federal Grand Jury empaneled in the Western District

of New York returned a five-count Indictment charging defendant Kwiatkowski with four

counts of violating the civil rights of three persons, D.S., J.C., and D.D., and conspiring

to violate the civil rights of those three persons, D.S., J.C., and D.D. and one other

person, J.W. The alleged victims in this case are identified in the Indictment by their

initials. The conduct charged in the Indictment occurred in the early morning hours of

May 31, 2009.



              Defendant Kwiatkowski appeared before this Court on June 2, 2014 for

purposes of arraignment on the instant Indictment. Attorney Paul J. Cambria, Jr., a

senior partner at Lipsitz Green Scime Cambria, LLP, appeared with the defendant and

advised the Court that he had been retained by the defendant to represent him in

connection with this matter. At the conclusion of the proceedings, counsel for the

government advised the Court of a possible conflict of interest in Mr. Cambria’s

representation of defendant Kwiatkowski and further advised that counsel for the

government and defendant Kwiatkowski would fully advise the Court of the nature of the

conflict within one week’s time. The instant motion was filed on June 5, 2014. Dkt. #6.




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              In an affidavit filed in support of the instant motion, Assistant United States

Attorney Paul J. Campana states that he was contacted on May 28, 2014 by Paul J.

Cambria, Jr. who advised that he was likely to be engaged that day as counsel for

defendant Kwiatkowski. Dkt. #6, ¶ 5. During the June 17, 2014, oral argument on the

instant motion, Mr. Cambria advised the Court that in the early afternoon on June 2,

2014, as he was preparing to leave his office to appear with the defendant at his 2:00

p.m. arraignment, Mr. Cambria explained that he encountered Michael P. Stuermer,

also a senior partner at Lipsitz Green Scime Cambria, LLP. During this brief encounter

with Mr. Stuermer on June 2, 2014, Mr. Cambria stated during oral argument that he

casually mentioned to Mr. Stuermer that he was on his way to Court for defendant

Kwiatkowski’s arraignment. At that time, according to Mr. Cambria, Mr. Stuermer

replied, that he thought he may have represented an individual in connection with the

events charged in the Indictment. As noted above, the Indictment only identifies the

alleged victims by their initials. Later, with the assistance of the United States

Attorney’s Office, Messrs. Cambria and Stuermer confirmed that in 2009, in connection

with a local criminal matter pending in Buffalo City Court arising from the events that

occurred on May 31, 2009, Mr. Stuermer represented the individual referred to in the

Indictment as D.S.



              The Court notes that at one time, Mr. Stuermer was engaged in the law

firm’s criminal defense practice area and routinely appeared before the undersigned in

connection with criminal matters. Although the Court cannot presently recall the last

time Mr. Stuermer appeared before it in connection with a criminal matter, the Court can




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say unequivocally that the frequency of Mr. Stuermer’s appearances in connection with

criminal matters has decreased significantly in recent years. Indeed, a review of the

Lipsitz Green Scime Cambria LLP website reveals that the focus of Mr. Stuermer’s

practice has changed to automobile accidents, construction accidents, motorcycle

accidents, premises liability, and workplace accidents. See

http://www.lipsitzgreen.com/attorneys/stuermer-michael/.



              In its motion, the government states that the alleged victim, D.S. and

former client of Lipsitz Green Scime Cambria, LLP will be a witness in the government’s

case against defendant Kwiatkowski. In support of the instant motion, the government

further states,

                     [t]he government respectfully submits that one
                     of the Court’s concerns should be that Mr.
                     Cambria’s firm’s prior representation of a
                     prosecution victim/witness, in a trial where Mr.
                     Cambria will be obligated to cross examine the
                     former client (and present witness), would
                     create the appearance of impropriety. It may
                     limit Mr. Cambria’s ability to cross-examine the
                     victim, as that cross-examination could not
                     address matters the victim discussed with the
                     firm, without creating a further appearance of
                     impropriety, i.e., the appearance that Mr.
                     Stuermer revealed client confidences to Mr.
                     Cambria and/or that Mr. Cambria failed to fully
                     cross-examine the victim lest he interfere with
                     the attorney-client relationship between the
                     victim and Mr. Stuermer.

Dkt. #6, ¶ 9. Thereafter, on June 11, 2014, Assistant U.S. Attorney Paul Campana filed

a Supplemental Affidavit in Support of Motion for Determination of Conflict of Interest.

Dkt. #9. In that affidavit, AUSA Campana stated that, “on June 9, 2014, D.S. advised




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the government that he would not waive any conflicts arising from Mr. Cambria’s firm

having previously represented D.S., and now having been engaged to represent

defendant Kwiatkowski.” Dkt. #9, ¶ 3.



              In response to the instant motion, Mr. Cambria stated,

                     To begin with, as an officer of the Court, I can
                     affirm herein that I have no information from
                     Mr. Stuermer’s brief representation of D.S. in
                     2009; in that I did not substantively discuss the
                     matter with Mr. Stuermer; and further I have
                     not reviewed Mr. Stuermer’s papers, notes or
                     file regarding the matter. Our firm employs
                     approximately fifty attorneys. The criminal
                     department of our firm is busy; and handles a
                     great many clients. It should surprise no one
                     that I have obtained no information regarding
                     Mr. Stuermer’s brief representation of D.S.,
                     which occurred some five years ago. Further, I
                     will not obtain any [sic] from Mr. Stuermer or
                     his file.

Dkt. #10, ¶ 6. In addition to the foregoing, Mr. Cambria further advised the Court that

once D.S.’s identity was confirmed for purposes of determining the existence of a

conflict of interest, Lipsitz Green Scime Cambria, LLP “created a Chinese wall often

used by the government in federal cases between government attorneys. The now-

closed file is stored in a warehouse outside of the firm’s four walls and I represent I

have not and will not share any information with Mr. Stuermer or view such file.” Dkt.

#10, ¶ 7.



              In a Declaration submitted in response to the instant motion, Mr. Stuermer

confirms that he represented D.S. in May 2009 in a matter in the City Court of Buffalo




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concerning charges resulting from the arrest of D.S. by defendant Kwiatkowski and

other members of the Buffalo Police Department. Dkt. #10-1, ¶ 2. Mr. Stuermer further

states,

                      I have never discussed the substance of my
                      representation of D.S. with Paul J. Cambria,
                      Jr., Esq., who is one of my law partners at
                      Lipsitz Green Scime Cambria. Further, the file
                      is now closed and stored in a warehouse
                      outside of the firm. It will remain there for the
                      duration of Mr. Cambria’s representation of the
                      defendant. I currently work in an entirely
                      different department than Mr. Cambria on a
                      different floor, and I will abide by the Chinese
                      wall instituted within the firm regarding these
                      two matters.

                      I will continue to have no involvement with
                      defendant Mr. Kwiatkowski in this matter, will
                      not seek out any information regarding same,
                      and will not volunteer any information to Mr.
                      Kwiatkowski [sic] or to any other member of
                      our firm that may be working on defendant Mr.
                      Kwiatkowski herein.

                      To my knowledge Mr. Cambria has never met
                      D.S. nor spoken to him and there is no chance
                      whatsoever that Mr. Cambria will obtain any
                      information from me regarding D.S. or his
                      case.

Dkt. #10-1, ¶¶ 3-5.



                              DISCUSSION AND ANALYSIS

              The Sixth Amendment to the United States Constitution provides that, “[i]n

all criminal prosecutions, the accused shall enjoy the right . . . to have the Assistance of

Counsel for his defense.” U.S. Const. amend. VI.




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                    Implicit in this guarantee is the principle that, in
                    most cases, ‘a criminal defendant may be
                    represented by any counsel who will agree to
                    take his case.’ United States v. Cunningham,
                    672 F.2d 1064, 1070 (2d Cir. 1982). The right
                    to counsel of one’s choice ‘is not an absolute
                    one,’ however. United States v. Ostrer, 597
                    F.2d 337, 341 (2d Cir. 1979). The Sixth
                    Amendment also embraces a right to effective
                    assistance of counsel, which includes the right
                    to be represented by an attorney who is free
                    from conflicts of interest.       See Wood v.
                    Georgia, 450 U.S. 261, 271, 101 S.Ct. 1097,
                    67 L.Ed.2d 220 (1981).

United States v. Cain, 671 F.3d 271, 293 (2d Cir. 2012).



                    Attorneys owe a continuing duty to former
                    clients not to reveal confidences learned in the
                    course of their professional relationship. It is
                    this duty that provides the foundation for the
                    well-established rule that a lawyer may not
                    represent a client in a matter and thereafter
                    represent another client with interests
                    materially adverse to interests of the former
                    client in the same or a substantially related
                    matter. Indeed, such “side-switching” clearly
                    implicates the policies of both maintaining
                    loyalty to the first client and of protecting that
                    client’s confidences. These same principles
                    give rise to the general rule that, where an
                    attorney working in a law firm is disqualified
                    from undertaking a subsequent representation
                    opposing a former client, all the attorneys in
                    that firm are likewise precluded from such
                    representation.

                    In addition to ensuring that attorneys remain
                    faithful to the fiduciary duties of loyalty and
                    confidentiality owed by attorneys to their
                    clients, the rule of imputed disqualification
                    reinforces an attorney’s ethical obligation to
                    avoid the appearance of impropriety.
                    Furthermore, it protects client confidences from



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                     misuse in substantially related and adverse
                     litigation; frees the former client from any
                     anxiety that matters disclosed to an attorney
                     will subsequently be used against it in related
                     litigation; and provides a clear and readily
                     administered test, thereby encouraging self-
                     enforcement among members of the legal
                     profession.

Kassis v. Teacher’s Ins. & Annuity Assn., 93 N.Y.2d 611, 615-616 (1999) (internal

quotations and footnote omitted). As the New York Court of Appeals and Courts within

the Second Circuit have repeatedly stated, the presumption of imputed disqualification

may be rebutted. Kassis, 93 N.Y.2d at 616; Solow v. Grace & Co., 83 N.Y.2d 303, 309

(1994); Cummin v. Cummin, 264 A.D.2d 637, 639 (1st. Dept. 1999); In re Del-Val

Financial Corp. Securities Litigation, 158 F.R.D. 270 (S.D.N.Y. 1994); Lambert v. The

Chase Manhattan Bank, N.A., No. 93 Civ. 1317, 1996 WL 66130 (S.D.N.Y. Feb. 15,

1996); Papyrus Technology Corp. v. New York Stock Exchange, Inc., 325 F.Supp.2d

270, 279 (S.D.N.Y. 2004).

                     A ‘per se rule of disqualification,’ we stated, ‘is
                     unnecessarily preclusive because it disqualifies
                     all members of a law firm indiscriminately,
                     whether or not they share knowledge of former
                     client’s confidences and secrets’. Such a rule
                     also imposes ‘significant hardships’ on the
                     current client and is subject to abusive
                     innovation purely to seek tactical advantages in
                     a lawsuit. Additionally, a per se disqualification
                     rule ‘conflicts with public policies favoring client
                     choice and restricts an attorney’s ability to
                     practice.’

Kassis, 93 N.Y.2d at 616-17. A determination of whether the presumption of shared

confidences and disqualification has been rebutted turns on consideration of the

particular facts of each case.




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              Where, for example, a disqualified attorney
              formerly worked in a small law firm
              characterized by a certain informality and
              conducive to “ 'constant cross-pollination' ” and
              a “ 'cross current of discussion and ideas'
              among all attorneys on all matters which the
              firm handled,” there will be a greater likelihood
              of acquiring material client confidences
              (Cardinale v Golinello, supra, 43 NY2d, at
              292). Similarly, where offices are not physically
              isolated and files are made open and available
              to all lawyers, the probability that an attorney
              gained significant confidential information
              increases (id.).
              Other factors also weigh in the balance. In
              Solow, for example, this Court declined to
              disqualify the law firm of Stroock & Stroock &
              Lavan, a 372-lawyer firm which represented
              plaintiff in a suit against defendant W.R. Grace
              & Co. Members of Stroock had previously
              defended Grace in another action, and Grace
              moved to disqualify the firm from participating
              in the action. While recognizing the importance
              of the presumption of shared confidences, the
              Court nevertheless permitted Stroock to
              continue as counsel against Grace, its former
              client. Aside from being a very large firm, the
              Stroock partner, associate and paralegals who
              actively participated in the litigation involving
              the former client had all left the firm long before
              the current litigation (see, Solow v Grace &
              Co., 83 NY2d, supra, at 306). Sworn affidavits
              by the remaining partner and associate at
              Stroock established that their involvement in
              the prior Grace litigation had been negligible
              (id., at 307).
              Demonstrating that no significant client
              confidences were acquired by the disqualified
              attorney, however, does not wholly remove the
              imputation of disqualification from a law firm.
              Because even the appearance of impropriety
              must be eliminated, it follows that even where it
              is demonstrated that the disqualified attorney
              possesses no material confidential information,
              a firm must nonetheless erect adequate


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                     screening measures to separate the
                     disqualified lawyer and eliminate any
                     involvement by that lawyer in the
                     representation (see, Cheng v GAF Corp., 631
                     F2d 1052).
Kassis, 93 N.Y.2d at 617-18.




              It is undisputed, Lipsitz Green Scime Cambria, LLP senior partner Michael

Stuermer represented the individual identified in the instant Indictment as D.S. in

connection with local charges stemming from the May 31, 2009 encounter with

defendant Kwiatkowski and other members of the Buffalo Police Department. Equally

undisputed is the fact that the incident giving rise to the charges in the instant

Indictment arose out of the same May 31, 2009 encounter between D.S. and others and

members of the Buffalo Police Department, including defendant Kwiatkowski. The

government maintains that the individual identified in the Indictment as D.S. and

formerly represented by Mr. Stuermer, will be a witness in the government’s case

against defendant Kwiatkowski. The parties have properly and timely brought this

matter to the Court’s attention and now seek this Court’s determination as to whether

there is a conflict of interest such that the entire Lipsitz Green Scime Cambria LLP law

firm must be disqualified from representing defendant Kwiatkowski.




              The law firm Lipsitz Green Scime Cambria LLP presently employs nearly

fifty attorneys. Although at one time, as late as May 2009, attorneys Stuermer and

Cambria both worked in the firm’s criminal department, Mr. Stuermer now advises and



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this Court has confirmed that he concentrates his practice on automobile accidents,

construction accidents, motorcycle accidents, premises liability and workplace

accidents. Indeed, not only is Mr. Stuermer working in a different department, but his

office is located on a different floor. Mr. Stuermer has further advised that the file in

connection with his 2009 representation of D.S. is now closed and stored in a

warehouse outside of the firm and will remain in that location for the duration of Mr.

Cambria’s representation of defendant Kwiatkowski. In connection with the instant

motion, both Mr. Cambria and Mr. Stuermer state that they have not discussed Mr.

Stuermer’s representation of D.S. and further, Mr. Stuermer represents that he will have

no involvement with defendant Kwiatkowski and will neither seek out information

concerning defendant Kwiatkowski nor volunteer any information to any other member

of the firm working on the instant matter. Lastly, and not dispositive of the matter before

this Court is the government’s statement that D.S. has advised the government that he

would not waive any conflicts arising from Mr. Cambria’s firm having previously

represented D.S. and now having been engaged to represent defendant Kwiatkowski.




              There is no question that under the controlling law cited above, there

exists the presumption of shared confidences within the Lipsitz Green Scime Cambria,

LLP firm, as between Mr. Stuermer and Mr. Cambria. However, this Court finds that

Lipsitz Green Scime Cambria, LLP, specifically Mr. Cambria, has succeeded in

rebutting that presumption. As detailed in Mr. Cambria’s Declaration submitted in

connection with this matter and further discussed during the June 17, 2014 oral

argument, as soon as the conflict was confirmed, Mr. Cambria took immediate steps to


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implement screening measures to insulate himself from any improper acquisition of

privileged or confidential communications concerning Mr. Stuermer’s representation of

D.S. Specifically, Mr. Cambria states,


                    I have never nor will I view the file regarding
                    the matter handled by Mr. Stuermer in 2009
                    and I have not nor will I have access to the file
                    itself. I have never nor will I discuss the matter
                    with Mr. Stuermer and I have never met nor
                    discussed the matter with his previous client.
                    Mr. Stuermer has had no involvement in the
                    present case and will continue to be
                    adequately screened from it, as he works in a
                    different department on a different floor and as
                    such he has had no opportunity to
                    inadvertently acquire information about the
                    current matter and nor have I.
Dkt. #10, ¶22. In addition to the foregoing, Mr. Cambria explains that he had a

conversation with his client and advised him of his opportunity to discuss the matter with

outside counsel. In connection with the instant motion, defendant Kwiatkowski

submitted an affidavit wherein he expressed his understanding that he has the right to

conflict-free representation and the effective assistance of counsel and he further

stated,


                    I understand that in May 2009, one of Mr.
                    Cambria’s law partners, Michael P. Stuermer,
                    Esq., had represented government witness,
                    D.S., in the Buffalo City Court case that was a
                    product of my arrest of D.S. on May 31, 2009.
                    I further understand that D.S. is expected to
                    testify against me at my trial of this matter, the
                    charges of which stem from my alleged actions
                    during my arrest of D.S. on May 31, 2009.
                    I also understand that Mr. Stuermer is not now,
                    and will continue not to be, involved in the
                    defense of my case, and he will not be



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                      receiving or seeking out any information
                      regarding my matter.
                      I understand that I may consult with an
                      independent attorney outside of Mr. Cambria’s
                      firm, Lipsitz Green Scime Cambria, to discuss
                      my waiving any conflicts, as well as the
                      propriety of having Mr. Cambria continue on as
                      counsel in this matter.
                      After consulting with my attorney herein, I
                      hereby knowingly, intelligently and voluntarily
                      waive any perceived or potential conflict of
                      interest regarding the facts addressed above.
Dkt. #10-2, ¶¶ 3-6.


              Here, the undisputed facts in the record are that Michael P. Stuermer was

counsel to D.S. in connection with a Buffalo City Court matter that arose out of his May

31, 2009 arrest by defendant Kwiatkowski. Defendant Kwiatkowski’s current counsel,

Paul J. Cambria, Jr. had absolutely no involvement in the representation of D.S. With

nearly fifty attorneys, Lipsitz Green Scime Cambria LLP is a medium-sized law firm in

the Western District of New York. There is nothing in the record to suggest that Lipsitz

Green could be characterized as a firm with a “certain informality . . . conducive to

constant cross-pollination and a cross-current of discussion and ideas among all

attorneys on all matters which the firm handled.” Kassis, 93 N.Y.2d at 618. To the

contrary, Mr. Cambria makes clear in his declaration, “[t]he criminal department of our

firm is busy; and handles a great many clients. It should surprise no one that I have

obtained no information regarding Mr. Stuermer’s brief representation of D.S., which

occurred some five years ago. Further, I will not obtain any from Mr. Stuermer or his

file.” Dkt. #10, ¶ 6. Moreover, because Mr. Stuermer’s office and Mr. Cambria’s office

are on separate floors within the law firm and Mr. Stuermer’s file is located in an offsite


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storage facility, the possibility that either Mr. Cambria or Mr. Stuermer have or will gain

significant confidential information is minimal. Finally, this Court concludes that the

screening mechanisms presently in place are sufficient to ensure the absence of an

actual conflict of interest and the appearance of impropriety.




                                      CONCLUSION

              For the foregoing reasons, this Court concludes that the presumption of

shared confidences within the law firm of Lipsitz Green Scime Cambria, LLP and

specifically, between senior partners Paul J. Cambria, Jr. and Michal P. Stuermer has

been rebutted and Lipsitz Green Scime Cambria, LLP and Mr. Cambria may continue

their representation of defendant Kwiatkowski. The attorneys and staff at Lipsitz Green

Scime Cambria, LLP are hereby directed to adhere to the screening mechanisms put

into place and to ensure that neither Mr. Cambria nor Mr. Stuermer inadvertently obtain

confidential information.



              It is hereby ORDERED pursuant to 28 U.S.C § 636(b)(1) that:



              This Report, Recommendation and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Report, Recommendation and Order must be

filed with the Clerk of this Court within fourteen (14) days after receipt of a copy of this

Report, Recommendation and Order in accordance with the above statue,

Fed.R.Crim.P. 58(g)(s) and Local Rule 58.2.



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              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).


              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules for

the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Report,

Recommendation and Order), may result in the District Judge's refusal to

consider the objection.



DATED:        June 30, 2014
              Buffalo, New York



                                          s/ H. Kenneth Schroder, Jr.
                                            H. KENNETH SCHROEDER, JR.
                                            United States Magistrate Judge




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